    Case: 1:14-mc-00547 Document #: 3 Filed: 10/14/14 Page 1 of 4 PageID #:53


                                                               FILED
                     UNITED STATES DISTRICT COURT         ocT 1 4 2014
                    I.IORTHERN DISTRICT OF ILLINOIS         t0-tq-/q A/4
                           EASTERN DIVISION        MAGETRATE JUDGE MARIA VATDEZ
                                                            UNMD   STATE.S DISTRET COUNT

In the Matter of the Search of:
                                         No.          14 nd E 41 ..,,
The Twitter accounts
@AhkTheBlackArab located at
                                                       tLlrn5q7
www.twitter.com/ahktheblackarab,         Magistrate Judge Maria Valdez
@AbuFarriss located at
www.twitter.com/abufarriss, and          UNDER SEAL
@abothabetk located at
www.twitter.com/abothabetk, further
described in Attachment A

             GOVERNMENT'S MOTION TO SEAL
   SEARCH WARRANT, APPLICATION, AND AFFIDAVIT AND TO
   COMMAND TWTTTER NOT TO NOTIFY AI{Y PERSON OF'THE
              EXISTENCE OF THE WARRANT
      Now comes the UNITED STATES OF AMERICA, by ZACHARY T.

FARDON, United States Attorney for the Northern District of Illinois, and

states as follows in support of its Motion to Seal Search Warrant, Application,

and Affidavit:

        On the L4tb, day of October, 2014, the government applied for a Search

Warrant in this matter, and submitted an Application and Affidavit in
support. The Search Warrant Affidavit details the facts supporting plobable

cause   to believe that   evidence and instrumentalities concerning material

support of a foreign terrorist organization offenses, in violation of Title     18,

United States Code, Section 2339B(a)(1), will be found          in the Subject
Accounts.
     Case: 1:14-mc-00547 Document #: 3 Filed: 10/14/14 Page 2 of 4 PageID #:54




      The government wiII continue its investigation after execution of the

Search Warrant, and disclosure of the Application and Affidavit would

jeopardize the investigation by providing the subject of the investigation an

opportunity to destroy evidence or flee and jeop ardtze the investigation by

disclosing   the details of facts known to investigators, the identities of
witnesses, and the investigative strategy.      F   or the foregoing reasons, the

government respectfully requests that the Search Warrant, Application, and

Affidavit be sealed for 60 days from the date of this Order, until December

13, 2014, except as necessary to facilitate the enforcement of criminal law,

including the execution of the search warrant, or to any federal official to

assist the official receiving the information        in the performance of that
official's duties.

       In   addition, Twitter   is a provider of an electronic communication
service, as defined in Title 18, United States Code, Section 2510(15), and/or a

remote computer service, as defined in Title 18, United States Code, Section

27LL(2). Pursuant to Title 18, United States Code, Section 2703(b)(1)(A) and

(c)(3), the government is not required to provide notice of the warrant to the

subscriber or customer of the account.

       Furthermore, under Title 18, United States Code, Section 2705(b),         if
the Court determines that that "there is reason to believe that notification of
                                         2
    Case: 1:14-mc-00547 Document #: 3 Filed: 10/14/14 Page 3 of 4 PageID #:55




the existence of the warrant will result in-(1) endangering the life or
physical safety of an individual; (2) flight from prosecution; (3) destruction of

or tampering with evidence; (4) intimidation of potential witnesses; or           (5)

otherwise seriously jeopardizing an investigation," this Court shall issue "an

order commanding a provider of electronic communications service or remote

computing service to whom a warrant. . . is directed, for such period as the

court deems appropriate, not to notify any other person of the existence of the

warrant, subpoena, or court order."

      In this case, such an order would be appropriate because the warrant

relates to an ongoing criminal investigation that is neither public nor known

to all of the targets of the investigation, and its disclosure may alert the
targets to the ongoing investigation. Accordingly, there is reason to believe

that notification of the existence or content of the warrant will causing flight

from prosecution, causing the d.estruction of or tampering with evidence, and

otherwise seriously jeopardizing the investigation. See l8 U.S.C.   S   2705G).
    Case: 1:14-mc-00547 Document #: 3 Filed: 10/14/14 Page 4 of 4 PageID #:56




      The United States respectfully requests that the Court issue an order

commanding Twitter not to disclose the existence or content of the warrant to

any person, until December 13, 2014, except that Twitter may disclose the

warrant to an attorney for Twitter for the purpose of receiving legal advice.



                                     Respectfully submitted,

                                     ZACHARY T. FARDON
                                     Uni

                              By:
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DATE: October 14,20L4
